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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

JOSEPH LOVATO,

               Plaintiff,

v.                                                                   No. 1:20-cv-187 KRS

ANDREW M. SAUL,
Commissioner of the Social Security Administration,

               Defendant.

                            ORDER SETTING BRIEFING SCHEDULE

       THIS MATTER comes before the Court sua sponte, following a review of the record.

IT IS HEREBY ORDERED that:

       On or before December 2, 2020, Plaintiff shall file and serve a Motion to Reverse or

Remand Agency Decision with Supporting Memorandum;

       On or before February 2, 2021, Defendant shall file and serve a Response; and

       On or before February 16, 2021, Plaintiff may file and serve a Reply.

       IT IS FURTHER ORDERED that all motions, responses, replies, and supporting

memoranda shall specifically cite to the administrative record for assertions of fact (e.g., AR 15)

and that legal propositions shall be supported by appropriate authority.

       IT IS FURTHER ORDERED that all requests for extensions of time altering the

deadlines set in this Order shall be made through a motion to the Court. If the parties concur in

seeking an extension of time, they shall submit a stipulated proposed order for Court approval.



                                                     _______________________________
                                                     KEVIN R. SWEAZEA
                                                     UNITED STATES MAGISTRATE JUDGE
